     Case:1:16-cv-08940
    Case:  1:19-cv-01717Document
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                   ORDER OF THE EXECUTIVE COMMITTEE
        It appearing that, for reasons of judicial efficiency, coordinated pretrial proceedings in
the cases listed below should be presided over by a single district judge as provided for by IOP
13(e) and that a single magistrate judge should be designated for these cases; and

       It further appearing that the Hon. Andrea R. Wood has agreed to preside over these
coordinated pretrial proceedings; and

       It further appearing that Magistrate Judge Sheila M. Finnegan has agreed to be the
designated magistrate judge in these coordinated pretrial proceedings; therefore

        It is hereby ordered that Judge Wood shall preside over pretrial proceedings in the cases
listed below; and

       It is further ordered that Magistrate Judge Finnegan shall be the designated Magistrate
Judge in the cases listed below; and

       It is further ordered that these cases shall remain pending on the calendar of the judge to
whom that it is currently assigned, and that an order be entered in each case by Judge Wood at
such time as coordinated pretrial proceedings have concluded; and

       It is further ordered than any additional cases that may be filed with similar claims and
the same defendants shall be part of these coordinated pretrial proceedings.

Case                  Case Title                                                     Judge
16 CV 8940            Baker v. City of Chicago et al                                 Wood
17 CV 2877            White v. City of Chicago et al                                 Coleman
17 CV 5156            Powell v. City of Chicago et al                                Blakey
17 CV 7241            Carter v. City of Chicago et al                                Gettleman
18 CV 3474            Forney v. City of Chicago et al                                Kendall
18 CV 3477            Shenault v. City of Chicago et al                              Tharp
18 CV 3478            Shenault Jr. v. City of Chicago et al                          Kendall


                              ENTER:
                                       FOR THE EXECUTIVE COMMITTEE:



                                       _____________________________________
                                       Chief Judge Rubén Castillo
                                  th
Dated at Chicago, Illinois this 12 day of July, 2018.
